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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

ROBERT HUNTER BIDEN,                              :
                                                  :
       Plaintiff,                                 :      Civil Action No.:      23-cv-2711 (RC)
                                                  :
       v.                                         :
                                                  :
UNITED STATES OF AMERICA,                         :
                                                  :
       Defendant.                                 :

                                    SCHEDULING ORDER

       Upon consideration of the parties’ Meet and Confer Statement (ECF No. 44), it is hereby

ORDERED that the following schedule shall govern proceedings in this case:

            1. any other parties to this action must be joined by December 13, 2024;

            2. any party proposing amendments to the pleadings must seek leave to do so by

               December 13, 2024;

            3. the parties shall submit any proposed protective order by December 13, 2024, for

               consideration and entry by this Court;

            4. the parties must exchange the disclosures required by Fed. R. Civ. P. 26(a)(1) by

               November 12, 2024;

            5. discovery of facts relevant to all claims, counterclaims, and defenses will

               commence immediately and must conclude by June 30, 2025. The parties shall

               produce ESI either in native format rendered to TIFF images with a cross-

               reference load file or as text-searchable Adobe PDF files. In the event metadata is

               desired by a receiving party but cannot reasonably be produced via these methods,

               the parties shall confer in good faith and attempt to resolve the issue on a case-by-
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               case basis. To the extent either party seeks the production of email or other

               electronic communications, the parties shall confer in good faith and establish

               reasonable search parameters, including search terms, custodians, and time

               periods. The parties shall establish a timetable for production of responsive

               information that takes into consideration the volume of materials to be searched

               and the total number of responsive documents to be produced;

           6. plaintiff’s expert disclosures and reports shall be served by March 31, 2025, and

               defendant’s expert disclosures and reports shall be served by May 30, 2025;

           7. discovery related to experts must conclude by June 30, 2025; and

           8. the parties shall appear for a status conference before the Court on July 8, 2025,

               at 9:30 a.m. in Courtroom 23A.

       It is FURTHER ORDERED that, before bringing a discovery dispute to the Court’s

attention, the parties must meet and confer in good faith in an attempt to resolve the dispute

informally. If the parties are unable to resolve the dispute, they must contact chambers to

arrange for a telephonic conference with the Court. The parties must obtain leave of the Court

before filing any motion relating to a discovery dispute. Any discovery motions that are filed

prior to obtaining such leave may be summarily denied for failure to comply with this order.

       SO ORDERED.


Dated: October 31, 2024                                            RUDOLPH CONTRERAS
                                                                   United States District Judge




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